Case o-20-06049-aSt DOC o0-/ Filed VOlflo/z5 Entered Ol/loizso 20141744

EXHIBIT G
Case o-20-0O6049-aSt DOC o0-/ Filed Olflo/2z5s Entered Ol/loizs 20141744

D oO TION
Re: Sale of Porteck Corporation assets to Physicans Practice Plus LLC

The undersigned hereby directs and authorizes Purchaser to disburse, to order of Porteck
Corporation, the sum of $7,000,000.00 by wire transfers or check made payable to the following payees
in the following amounts: .

TOTAL PROCEEDS: $7,000,000.00

1) People’s United Bank
ABA#; 221172186
Further Credit to: GL 24411-004
Borrower Name: Porteck Corp
Account #:
Loan Type: Small Business LOC
representing payoff ..........000. seveesseseeeescsncnessusssenssanssnsenensananagnaneagersenessenenge senses

2) Atlantic Health, LLC
Wells Fargo Bank, N.A.
San Francisco, CA
Wire Routing Number: 121000248
Account Number:
Name on Account: Atlantic Health, LLC
Account Address:1402 W. Swann Avenue, Tampa, FL 33606
(PO Box 1351, Tampa, FL 33609)

representing payoff......... evecececaceacuscnsesceeceecussersecaecusceucusensesaseeceeseusansgensneneens $ 625,000.00
3) Itria Ventures LLC

Account Name: Porteck Corp
Beneficiary Bank: Silicon Valley Bank
Beneficiary Bank Address: 3003 Tasman Drive, Santa Clara, CA 95054
"> Routing Transit#: 121140399
Beneficiary Name: ITRIA Ventures LLC
Beneficiary Address: 333 7" Avenue, 18" Floor, New York, NY 10001
_ Beneficiary Account#:
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$597,648.59.

$ 471,527.74

4) tria Ve
Accoiint Name: Porteck Corp
Beneficiary Bank: Silicon Valley Bank
Beneficiary Bank Address: 3003 Tasman Drive, Santa Clara, CA 95054
Routing Transit#; 121140399
Beneficiary Name: ITRIA Ventures LLC
Beneficiary Address: 333 7" Avenue, 18" Floor, New York, NY 10001
Beneficiary Account#:
representing PAYOEE svvssussssseeeeescerrersenseererereeeeees l sesesnsseasoesccsoperevecsescesoonsccsecees

5) Swift Financial Corporation —
Account Name: Porteck Corporation

Advance #; .

Beneficiary ‘panx: ouscun Valley Bank

Beneficiary Bank Address: 3003 Tasman Drive, Santa Clare, CA 95054
Routing Transit#: 121140399

Beneficiary Name: Swift Financial Corporation

Beneficiary Mailing Address: 501 Carr Road, Suite 301, Wilmington, DE 19809

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$ 189,555.48

$ 240,056.25

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’ 6) PCA Note

Steven Landy & Associates, PLLC, as attorneys,

ABA Routing No.: 021909300

Account No.:

Name on Account: Steven Landy & Associates PLLC, Attorney Trust Account
Account Address: 270 Madison Avenue, Suite 1400, NY, NY 10016

Bank Name; Hudson Valley Bank

Bank Address: Lincoln Building Branch, 60 East 42nd Street, NY, NY 10165

representing payoff ...ssecscccrceccerreesenseneesrertersesnenesesrsneassasenasensuueneaneaseeennaereay

7) teve sociates, PLL
’ ABA Routing No.: 021909300
Account No.:
Name on Account: Steven Landy & Associates PLLC, Attorney Trust Account
Account Address: 270 Madison Avenue, Suite 1400, NY, NY 10016
Bank Name: Hudson Valley Bank
Bank Address: Lincoln Building Branch, 60 East 42nd Street, NY, NY 10165
representing balance of closing proceeds........--:sesessessessserseesesnaeeessranassesensenenen stents $4,576,211.94

$ 300,000.00

TOTAL DISBURSEMENT........cssssecsevssereonsnsoes eeueereresoere oeeeeerecseneee »++7,000,000,00

The foregoing constitutes disbursement of the entire cash proceeds, and such disbursement is
hereby approved by the undersigned.

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Dated: March ‘,_, 2015
PORTECK CORPORATION

By: To 7

Steven Landy as Authorized Agent

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